
ATTORNEY DISCIPLINARY PROCEEDING
PER CURIAM
hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent practiced law while ineligible to do so. Following the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline in which respondent admitted that her conduct violated Rules 1.1(b), 1.1(c), 5.5(a), and 8.4(a) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Victoria Baker Flores, Louisiana Bar Roll number 28039, be suspended from the practice of law for a period of six months. It is further ordered that this suspension shall be deferred in its entirety and that respondent shall be placed on unsupervised probation for a period of two years. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
